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                       UNITED STATES COURT OF APPEALS
                          FOR THE FEDERAL CIRCUIT
                                  717 MADISON PLACE, N.W.
                                  WASHINGTON, D.C. 20439

PETER R. MARKSTEINER                                                          CLERK’S OFFICE
   CLERK OF COURT                                                              202-275-8000


                                        July 24, 2020

                               NOTICE OF DOCKETING


Federal Circuit Docket No.: 2020-2042

Federal Circuit Short Title: f'real Foods LLC v. Hamilton Beach Brands, Inc.

Date of Docketing: July 24, 2020

Originating Tribunal: United States District Court for the District of Delaware

Originating Case No.: 1:16-cv-00041-CFC, 1:14-cv-01270-CFC

Appellants: Rich Products Corporation, f'real Foods LLC

    A notice of appeal has been filed and assigned the above Federal Circuit case number.
The court's official caption is included as an attachment to this notice. Unless otherwise
noted in the court's rules, the assigned docket number and official caption or short title
must be included on all documents filed with this Court. It is the responsibility of all
parties to review the Rules for critical due dates. The assigned deputy clerk is noted
below and all case questions should be directed to the Case Management section at (202)
275-8055.

   The following documents are due within 14 days of this notice:

   •   Entry of Appearance or Notice of Unrepresented Person Appearance. (Fed. Cir. R.
       47.3.)
   •   Certificate of Interest. (Fed. Cir. R. 47.4; not required for unrepresented and
       federal government parties unless disclosing information under Fed. Cir. R.
       47.4(a)(6))
   •   Docketing Statement. Note: The Docketing Statement is due in 30 days if the
       United States or its officer or agency is a party in the appeal. (Fed. Cir. R. 33.1 and
       the Mediation Guidelines; no docketing statement is required in cases with an
       unrepresented party)
   •   Statement Concerning Discrimination in MSPB or arbitrator cases. (Fed. Cir. R.
       15(c); completed by petitioner only)
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PARTY FILING AND CONTACT INFORMATION: Each counsel representing a party
must be a member of the court's bar and registered for the court's electronic filing
system. Fed. Cir. R. 25(a). Attorneys whose contact information has changed must make
all changes through their PACER service center profile and file an amended Entry of
Appearance.

Unrepresented parties must submit documents intended for filing to the court in paper.
Unrepresented parties changing contact information must submit an amended Notice of
Unrepresented Person Appearance with the new contact information. Unrepresented
parties registered to receive notices of docket activity must also update their PACER
service center profile.

OFFICIAL CAPTION: The court's official caption is attached and reflects the lower
tribunal's caption pursuant to Fed. R. App. P. 12(a), 15(a), and 21(a). Please review the
caption carefully and promptly advise this court in writing of any improper or inaccurate
designations.

                                             /s/ Peter R. Marksteiner
                                             Peter R. Marksteiner
                                             Clerk of Court

                                             By: E. Dumont, Deputy Clerk

Attachments:

   •   Official caption
   •   Paper Copies of General Information and Forms (to unrepresented parties only):
          o General Information and Overview of a Case in the Federal Circuit
          o Notice of Unrepresented Person Appearance
          o Informal Brief
          o Informal Reply Brief (to be completed only after receiving the opposing
              party's response brief)
          o Motion and Affidavit for Leave to Proceed in Forma Pauperis (only to filers
              owing the docketing fee)
          o Supplemental in Forma Pauperis Form for Prisoners (only to filers in a
              correctional institution)
          o Statement Concerning Discrimination (only to petitioners in MSPB or
              arbitrator case)

cc: United States District Court for the District of Delaware
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                              Official Caption


         F'REAL FOODS LLC, RICH PRODUCTS CORPORATION,
                        Plaintiffs-Appellants

                                      v.

  HAMILTON BEACH BRANDS, INC., HERSHEY CREAMERY COMPANY,
                     Defendants-Appellees



                               Short Caption

                f'real Foods LLC v. Hamilton Beach Brands, Inc.
